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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
UNITED STATES OF AMERICA

)
)
v. ) cRIMINAL No. 01-10261-sz
)
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CHEPIEL SANCHEZ
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SENTENCING MEMORANDUM OF DEFENDANT CHEPIEL SANCHEZ

The Defendant Chepiel Sanchez submits the following
memorandum in opposition to the Government’s position
(adopted by Probation) concerning the calculation of
Base Offense Level to include alleged “relevant
conduct” and the assignment of a four level adjustment
for his role in the offense.

Prior Proceedings

On or about September 12, 2002, a Federal Grand
Jury returned an indictment against Chepiel Sanchez for
conspiracy to distribute heroin (21 U.S.C. §846) (count
l), distribution of heroin and/or aiding and abetting
the distribution of heroin [21 U.S.C. §841 (a)(l); 18
U.S.C. §2](counts 2-10) and forfeiture of assets (21
U.S.C. §853). The Grand Jury further alleged that the

conspiracy involved more than lOO grams of heroin.

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The defendant was arraigned before Magistrate Judge
Dein on September 25, 2002. On January 9, 2003, the
Defendant appeared before Judge Rya W. Zobel and
pleaded guilty to all ten counts of the indictment.

Sentencing was initially scheduled for April 3, 2003,

hearing on June 13, 2003.
Factual Background

The Defendant was indicted substantially on the
basis of nine drug transactions recorded by a
confidential informant, commencing on February 21,
2002, and concluding with his arrest and the search of
his premises on September 13, 2003. The total quantity
of heroin transacted in all the substantive counts of
the indictment was 99.6 grams (see page 22 of PSR}. In
addition, the Defendant admitted at his plea hearing
that the conspiracy in which he participated from
February, 2002, to September 12, 2002, involved at
least 100 grams of heroin (a consensually recorded

transaction of 39.5 grams on September 12, 2002, and

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common basement on September 13, 2003, were not charged
in substantive counts) (see pages 22-23 of PSR).

Subsequent to the Defendant’s plea hearing, the
Government submitted a memorandum to the Probation
Office, adopted substantially by Probation, seeking to
enhance Defendant’s Base Offense Level by the inclusion
of uncharged “relevant conduct” consisting of alleged
heroin quantities in excess of 3,250.00 grams, alleged
cocaine quantities of 2000 grams, and alleged ecstasy
quantities of 649.5 grams (see pages 23-24 of PSR).
The result was to increase the Base Offense Level from
Level 26 based upon the 100-400 gram quantity of heroin
to which Defendant pleaded guilty to Level 34 (see page
24 of PSR).

Argument

I. The Defendant Should Not Be Held Responsible For
Uncharged Drug_guantities Which Have Not Been
Proven By Reliable Evidence To Be Part Of The Same
Course Of Conduct Or Common Scheme Or Plan As The
Offense Of Conviction.

The Sentencing Guidelines provide for the inclusion
of drug quantities from uncharged transactions in the

calculation of Defendant’s Base Offense Level, but only

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where such transactions are “part of the same course of
conduct or common scheme or plan as the offense of
conviction”. U.S.S.G. §1B1.3(a(2). In this case, the
Government inappropriately seeks to hold Defendant
responsible for quantities of drugs, including heroin,
ecstasy, and cocaine which were neither charged, nor
occurred as part of the conspiracy alleged, nor during
the same course of conduct.

Although “closely related”, the concepts of “common

scheme or plan” and “same course of conduct” are

separate and distinct. §d., Commentary, Application
Note: (9). “For two or more offenses to constitute

part of a common scheme or plan, they must be
substantially [emphasis added] connected to each other
by at least one common factor, such as common victims,
common purpose, or similar modus operandi.... Offenses
that do not qualify as part of a common scheme or plan
may nonetheless qualify as part of the same course of
conduct if they are sufficiently connected or related
to each other as to warrant the conclusion that they
are part of a single episode, spree, or ongoing series

of offenses.” §d. The Sentencing Commission has

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delineated the following factors to consider: “the
degree of similarity of the offenses, the regularity
(repetition) of the offenses, and the time interval
between the offenses. When one of [these] factors is
absent, a stronger presence of at least one of the
other factors is required.” §d.

The First Circuit has suggested that the phrase
“common scheme or plan” is analogous to the term
“conspiracy”, i.e., the uncharged conduct must be part
of the same conspiracy as the charged conduct. United
StateS V. BatiSta, 239 F. 3d l6, 22 (lSt Cir. 2001).

The phrase “same course of conduct” has been defined as

the “unilateral equivalent fof a] conspiracy”. Id.

thus not limited to the drugs involved in the offenses
of convictions, “[s]ection lBl.3(a)(2) has its
limits...and ‘not every drug transaction undertaken by
meaningful sense.'” §d., quoting from United States v.
§Ll_a£, 920 F. 2d 107, 111 (iSt cir. 1990). “T@ bring
uncharged conduct into play, the government must

establish a sufficient nexus between the conduct and

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“Drug Debts”

The Government and Probation seek to hold Defendant
accountable for 1,120 grams of heroin based upon
references to drug debts made by the Defendant on
various recorded conversations (see Government’s
Memorandum at pages 39-409; PSR at page 23). The
inclusion of heroin amounts derived from drug debts is
not appropriate where the evidence fails to establish
that the alleged debts were attributable to relevant
conduct, i.e., conduct which was part of the same plan
or scheme or course of conduct as the offense of
conviction.

In this case, the tape-recorded conversations
relied upon by the Government do not indicate that the
alleged debs were recently incurred so as to permit an

inference of relevant conduct.l Compare, United States
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‘ In fact the tape ofthe April 25, 2002 conversatlon indicates that the alleged 5122 00 00 debt clted by the
Govemment and relled upon by Probation was “Owed Some guy last year" (see page 3 OfExhibit l l Submittecl with

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drug transactions referenced in ledgers, all occurring
in the immediately preceding months); United States v.
Tabares, 951 F. 2a 405, 410 (iSt cir. 1991) (dist;rict
court’s finding that notebook documenting recent
cocaine sales provided basis for enhancement of base

offense level was not clearly erroneous). Moreover,

heroin purchases, the evidence does not warrant a
finding that the Defendant’s debt derived from heroin
purchases as opposed to cocaine, ecstasy or marijuana
purchases, all of which, according to other evidence
the Government has proffered, the Defendant was
involved in (see PSR, pages 15-16, 18). Compare,
United States v. Sepulveda, 102 F. 3d 1313, 1318-1319
(1St Cir. 1996) (no “clear error” where district court

counted “crack cocaine” as relevant conduct based upon

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court could certainly have taken a different view of
the matter”}.

There is, finally, insufficient reliable evidence
of common scheme or plan or course of conduct to
overcome the absence of evidence demonstrating temporal
proximity. See United States v. Hill, 79 F. 3d 1477,
1484 (6th Cir. 1996) (“the guidelines prescribe a
sliding scale approach, i.e., where one of the factors
is weak or absent, there must be a substantially
stronger showing of at least one other factor”). Here,
there is no evidence to support a finding that the drug
debts derived from transactions involving the same co-
conspirators or the same customers as the offense of
conviction. See United States v. Williams, 10 F. 3d
910, 913-914 (iSt cir. 1993) (finding of relevant
conduct warranted, where prior misconduct involved same
victim, same method of operation, and same principals

as offense of conviction); United States v. Montoya,

 

952 F. 2d 226, 229 (aw~cir. 1991) (where prior
marijuana distribution involved different conspirators
and drugs different from offense of conviction,

district court erred in permitting unrelated drug

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transactions to be combined for sentencing purposes);

compare, United states v. white, ssa F. 2d 490, 500 wm

 

Cir. 1989) (where customers and co-conspirators
differed, district court was not warranted in including
prior cocaine transactions as relevant conduct).
Possession of $150,000.00 on 11/10/00

The Government and Probation also seek to include
as relevant conduct 2,000 grams of heroin based upon
alleged observations of an unidentified informant of
$150,000.00 (with which Sanchez allegedly intended to
purchase 2 kilos of heroin and 2 kilos of cocaine) in
November, 2000 (see Government’s Sentencing Memorandum
at page 32; PSR at page 23).2 This quantity of drugs
ought not to be included because, as previously argued
in connection with the alleged drug debts, the
government has not shown a sufficient nexus in time,
participants, or modus operandi, to prove common scheme
or plan or same course of conduct. The alleged
transaction took place fifteen months prior to the

commencement of the conspiracy alleged in the

 

2 The PSR incorrectly states that Velasquez’s testimony provided a basis for the inclusion ofthis amount In fact an
unidentified informant provided this information (see Exhibit 22 submitted by the Govemment).

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indictment to which the Defendant pleaded guilty. None
of the participants were the same, neither the seller
(Sanchez allegedly sought to buy the drugs from someone
in Texas whereas the source of the heroin alleged in
the indictment was New York), nor the buyer (the
informant who purchased the drugs from Sanchez in 2002
was not active in 2000), nor the co-conspirators. The
only nexus between the alleged transaction in November,
2000, and the offense of conviction is the nature of
the drug, and this connection is insufficient for a
finding of relevant conduct. United States v. White,

supra at 500.

Moreover, it is questionable whether this Court
should, or could, rely upon a police report containing
double hearsay including an unidentified confidential
informant in making its determination of relevant

conduct.3 Compare, United States v. Sklar, 920 F. 2d

 

107, 110 (1St Cir. 1990) (court may consider only

dependable information). Neither counsel nor the Court

 

3 The Government’s submission ofthc report itselfas an Exhibit constitutes triple hearsay Trooper Hughes reports
that Trooper Horgan was provided with the information by a confidential informant C-l.

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informant by reference to his background, biases, or
motivation, and thus the court has no basis on which to

evaluate the “reliability” of the information.
LaBoy Transactions

The Government and Probation add 150 grams of
heroin to the Defendant’s total Base Offense Level
based upon alleged transactions with Javier LaBoy (see
Government's Sentencing Memorandum at pages 33-34; PSR
at page 23). For reasons previously expressed

hereinabove, these alleged transactions were not “part

included as relevant conduct. U.S.S.G. §1B1.3(a)(2).
The alleged transactions occurred during the spring or
summer of 2001 (eight months prior to the commencement
of this conspiracy), involved a different customer, and
different conspirators. Again, the only similarity
providing the nexus required for relevant conduct is

that the same drug, i.e., heroin, was involved.

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Elton Rogers Transactions

The Government and Probation add 19.8 grams of
heroin as relevant conduct, based upon an interview
with a confidential informant and an unnamed source
concerning alleged heroin transactions in July of 2001
(see Government’s Sentencing Memorandum at page 32 and
PSR at page 23). For the reasons expressed hereinabove
with respect to the LaBoy transactions, the alleged
Rogers transactions should not be included as relevant
conduct where they do not involve the same course of
conduct or a common scheme or plan (different time
frame, different conspirators, different customer, no

similar modus operandi).
Cocaine

The Probation Department would hold Defendant
responsible for 2000 grams of cocaine as relevant
conduct as a result of the information provided by the
same confidential informant referred to in Trooper
Hughes’ report (see Exhibit 22 submitted by the

Government; PSR at pages 23-24). For the reasons

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expressed hereinabove in connection with the heroin
quantities referred to in said report, the Defendant
submits that the cocaine amounts referred to should not
be included as relevant conduct. ln this instance,
there is not even the similarity of drugs to evidence a

course of conduct or common scheme or plan.
Ecstasy

Probation also seeks to hold Defendant accountable
for 649.5 grams of ecstasy as relevant conduct (see PSR
at page 24). For reasons previously expressed, i.e.,
different drugs, different customers, different
conspirators, these amounts should not be included
because they were not part of the same scheme or plan

or course of conduct as the offense of conviction.
II. The Defendant Should Not Be Given A Four Level
Enhancement For Role In The Offense Where The Criminal

Activity For Which He Was Convicted Neither Involved
Five Or More Participants Nor Was Otherwise Extensive.

The Government and Probation apply a four level
enhancement for Sanchez’s alleged role in the offense
as the “organizer or leader of a criminal activity that

involved five or more participants or was otherwise

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as

extensive....” U.S.S.G. §3B1.1(a) (see Governments

Anderson was not “otherwise extensive”. Id.

belief that others, including Telia Lamb, Use Carrera,
Javier LaBoy, and Elton Rogers, participated as well.
Telia Lamb, however, cannot be considered a
“participant”, because it has not been shown that she
is “a person who is criminally responsible for the
commission of the offense.” §d., Commentary,
Application Note (l). Neither Carrera, nor LaBoy, nor
Rogers, even assuming their involvement as participants
in prior offenses, were participants in the offense of
conviction or relevant conduct. The Sentencing

Guidelines do not provide for a role adjustment based

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upon the accumulation of participants from prior
uncharged criminal conduct, unless such conduct

constitutes “relevant conduct”.

With respect to the criminal activity of Defendant,
there is no evidence that the offense was “otherwise
extensive”. The Defendant sold quantities of heroin to
the confidential informant, and was assisted in that
enterprise on limited occasions by Co-defendants Reyes
and Anderson. The Defendant should thus not be given
an enhancement for his role in the offense which
exceeds a 2 level adjustment as a supervisor or manager
of criminal activity. See U.S.S.G. §3B1.1(c).

III.The Court Should Consider A Downward Departure

Where The Enhancements Sought By The Government

Based Upon Relevant Conduct Drastically Affect The
Length Of Defendant’s Sentence.

The Defendant pleaded guilty to a conspiracy and
substantive counts of heroin distribution involving
quantities of heroin between 100 and 400 grams.
Without relevant conduct, his Base Offense Level would
have been Level 26 and his Total Offense Level would

have been Level 27 (assuming a 2 point upward

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adjustment for role). His resulting guideline sentence
range would have been 100-125 months (Criminal History

Category IV).

After Defendant pleaded guilty, the Government
submitted a memorandum seeking to include relevant
conduct, not only in the base offense computation, but
also in the role adjustment calculation. The result,
adopted by Probation, was to boost the guideline

sentencing range to 292-365 months.

Where relevant conduct results in a guideline range
grossly disportionate to that provided for the offenses
of conviction, the court should consider a downward

departure. United States v. Vizcaino, 202 F.3d 345,

 

347-348 (D.C. Cir. 2000); United States v. Lombard, 72

 

ssa 170, 183-187 (1~°": cir. 1995),- United states v.
Concepciol'l, 983 F.2d 369, 385-389 (2d Cir. 1992). In
this case a downward departure is appropriate so that
the sentence enhancements do not become the “tail which
wags the dog of the substantive offense.” United

States v. Lombard, supra at 176.

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IV. Conclusion

For the reasons set forth hereinabove, Defendant
respectfully requests that the Court reject the
inclusion of relevant conduct included in the
Presentence Report, as well as the role adjustment
predicated on such conduct. Without such enhancements,
the Court should find a sentencing guideline range of

100-125 months, and sentence Defendant accordingly.

In the event that the Court adopts the Governments
and Probation’s recommendations of a sentencing
guideline range of 292-360 months, the Defendant
requests that the Court depart downward to a fair and

just sentence.

DEFENDANT

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Dated: June 11, 2003

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CERTIFICATE OF SERVICE

1, John F. Palmer, certify that 1 sent copies
of the foregoing Motion For Leave To File Late
Sentencing Memorandum and Sentencing Memorandum Of
Defendant Chepiel Sanchez, by facsimile and first
class mail, postage prepaid, to the following:

John Wortmann, A.U.S.A.
U.S. Attorney's Office
One Courthouse Way
Boston, MA 02210

 

Dated: June 11, 2003

